     Case 2:19-cv-08600-JDE Document 26 Filed 10/16/20 Page 1 of 1 Page ID #:631




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 8                      UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10                               WESTERN DIVISION
11   MARIA SANCHEZ                  )         No. 2:19-cv-08600-JDE
                                    )
     MAGALLANES,                    )
12                                  )         ORDER AWARDING ATTORNEY
13                       Plaintiff, )
                                              FEES UNDER THE EQUAL
                                    )
14                 v.               )         ACCESS TO JUSTICE ACT,
                                    )         28 U.S.C. § 2412(d)
15   ANDREW M. SAUL, Commissioner )
                                    )
     of Social Security,            )
16                                  )
                        Defendant.  )
17
18
           Based upon the parties’ Stipulation (Dkt. 25), IT IS ORDERED that
19
     Plaintiff shall be awarded attorney’s fees of $6,900 under 28 U.S.C. § 2412(d),
20
21   subject to the terms of the above-referenced Stipulation.

22
     Dated: October 16, 2020
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24                                              JOHN D. EARLY
25                                              United States Magistrate Judge
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